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620 8th Avenue
New York, NY 10018         The Hon. Dale E. Ho
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                           Southern District of New York
                           United States Courthouse
                           40 Foley Square
                           New York, NY 10007

                                  Re: U.S. v. Adams, 24-cr-00556-DEH, Request to Unseal Search
                                      Warrant Materials

                           Dear Judge Ho:

                           I write on behalf of The New York Times Company (“The Times”) to follow
                           up on our letter motion of February 18, 2025 (“Motion,” Dkt. 133) seeking the
                           public release of certain materials related to searches conducted in the above-
                           referenced action (the “Materials”). Now that the matter is at an end, Second
                           Circuit law strongly supports the release of these documents. See In re
                           Application of Newsday, Inc., 895 F.2d 74, 79 (2d Cir. 1990) (affirming order
                           releasing search warrant affidavit based on common-law access right at the
                           conclusion of prosecution). In the seven weeks since we filed our application,
                           no party has opposed the unsealing. Given that there will be no trial at which
                           the public will be able to see and assess the evidence collected by the
                           Government, the case for releasing the Material is particularly compelling.

                           As the Court will recall from our motion, The Times seeks copies of certain
                           search warrants and search warrant applications, an application for a 2703(d)
                           order, and the document indexes compiled by the Government in submitting
                           evidentiary items to the defense, as set forth in the Government’s January 6,
                           2025 Opposition to the Defense Motion for a Bill of Particulars (the
                           “Opposition,” Dkt. 89). The Materials are more particularly described in our
                           Motion.




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      We respectfully refer the Court to our Motion for a full recitation of the law
      supporting the release of the Materials. As we detail there, both federal
      common law and the First Amendment endow the public with a right of
      access to judicial documents, including search warrant materials, and under
      either analysis public release of the materials is warranted. As the Court held
      in respect to our more recent motion to unseal certain exhibits, when parties
      choose not to file opposition papers in the time allowed by the local rules, the
      motion should be deemed fully briefed. (See Order, Dkt. 174, at 2.)

      The Court’s Opinion and Order today dismissing the indictment against
      Mayor Adams with prejudice (Dkt. 177) only underscores the importance of
      timely public access to these materials. As Your Honor explained, “because
      the decision to discontinue a prosecution belongs primarily to a political
      branch of government, it is the public’s judgment, and not this Court’s, that
      truly matters.” (Id. at 77.) By “providing a measure of transparency, which in
      turn may promote public accountability,” unsealing will vindicate the public’s
      “interest in the processes through which prosecutors make decisions about
      whom to prosecute.” (Id. (quoting In re Richards, 213 F.3d 773, 789 (3d Cir.
      2000)).

      We thank the Court for its consideration.

      Respectfully submitted,




      David E. McCraw



      cc: Counsel of Record (via ECF)




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